     Case 8:17-cv-00838-JLS-JDE Document 69 Filed 04/18/18 Page 1 of 4 Page ID #:1068




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 6    Attorneys for Plaintiffs and the Proposed Class
 7    [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]
 8
 9                                    UNITED STATES DISTRICT COURT
10                                  CENTRAL DISTRICT OF CALIFORNIA
11
12    In re: Kia Engine Litigation                         )   Case No.: 8:17-cv-00838-JLS-JDE
                                                           )
13                                                         )
                                                           )   CLASS ACTION
14                                                         )
                                                           )   PLAINTIFFS’ UNOPPOSED NOTICE
15                                                         )   OF MOTION AND MOTION FOR THE
                                                           )   APPOINTMENT OF INTERIM CLASS
16                                                         )   COUNSEL; MEMORANDUM OF
                                                           )   POINTS AND AUTHORITIES;
17                                                         )   DECLARATION OF MATTHEW D.
                                                           )   SCHELKOPF; DECLARATION OF
18                                                         )   ADAM GONELLI; [PROPOSED]
                                                           )   ORDER
19                                                         )
                                                           )   Hearing Date:   June 8, 2018
20                                                         )   Hearing Time:   2:30 p.m.
                                                           )   Courtroom:      10A
21                                                         )
                                                           )
22                                                         )
23
24            PLEASE TAKE NOTICE that on June 8, 2018, at 2:30 p.m. in Courtroom 10A of
25    the Ronald Reagan Federal Building and United States Courthouse, 411 W. Fourth St.,
26    Santa Ana, CA, 92701, Plaintiffs Christopher Stanczak, Rose Creps, Cara Centko, and
27    Jenn Lazar will move for an order appointing interim class counsel.
28

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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-00838-JLS-JDE
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 1            This motion will be based on the attached Memorandum of Points and Authorities,
 2    the Declarations of Matthew D. Schelkopf and Adam Gonelli and exhibits attached
 3    thereto, and on such other evidence or argument as may be offered at any hearing on this
 4    motion. A proposed order is enclosed herewith.
 5
      DATED: April 17, 2018.                                    SAUDER SCHELKOPF LLC
 6
                                                                By:   /s/ Matthew D. Schelkopf
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                                                                      David C. Wright
                                                              -2-
      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-00838-JLS-JDE
     Case 8:17-cv-00838-JLS-JDE Document 69 Filed 04/18/18 Page 3 of 4 Page ID #:1070



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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-00838-JLS-JDE
     Case 8:17-cv-00838-JLS-JDE Document 69 Filed 04/18/18 Page 4 of 4 Page ID #:1071




 1                                                                    Attorneys for Plaintiffs
 2
 3
 4
 5
 6
 7
                                          CERTIFICATE OF SERVICE
 8
              I, Matthew D. Schelkopf, hereby certify that on this 17th day of April, 2018, I caused
 9
      the foregoing to be filed using the Court’s CM/ECF system, and thereby electronically
10
      served it upon all registered ECF users in this case.
11
12
13
          DATED: April 17, 2018.                                Respectfully submitted,
14
15
                                                        By:     /s/ Matthew D. Schelkopf
16                                                              Matthew D. Schelkopf
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      Unopposed Motion for the Appointment of Interim Class Counsel
      Case No.: 8:17-cv-00838-JLS-JDE
